                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                      NO. 3:09-00226
                                    )                      JUDGE CAMPBELL
JULIO CESAR ROJAS-LOPEZ,            )
DONALD EFREN FRANCO,                )
DENIS FRANCO,                       )
LUIS ARMANDO MONTERROSO PINEDA, and )
EDWING RONAL MORALES

                                           ORDER

      Pending before the Court is Defendant Julio Rojas-Lopez’s Motion to Strike Pretrial Motions

(Docket No. 102). The Motion is GRANTED and Docket Nos. 92, 94, and 96 are withdrawn.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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